Case 1:19-cv-22864-MGC Document 215 Entered on FLSD Docket 12/22/2020 Page 1 of 2
             USCA11 Case: 20-14492 Date Filed: 12/22/2020 Page: 1 of 2

                                                                                                           AP
                            UNITED STATES COURT OF APPEALS
                               FOR THE ELEVENTH CIRCUIT                                 Dec 22, 2020
                               ELBERT PARR TUTTLE COURT OF APPEALS BUILDING
                                             56 Forsyth Street, N.W.
                                             Atlanta, Georgia 30303                                               MIAMI

   David J. Smith                                                                     For rules and forms visit
   Clerk of Court                                                                     www.ca11.uscourts.gov


                                          December 22, 2020

   Clerk - Southern District of Florida
   U.S. District Court
   400 N MIAMI AVE
   MIAMI, FL 33128-1810

   Appeal Number: 20-14492-J
   Case Style: Juan Collins, et al v. Steven Helfand
   District Court Docket No: 1:19-cv-22864-MGC

   The enclosed copy of the Clerk's Entry of Dismissal for failure to prosecute in the above
   referenced appeal is issued as the mandate of this court. See 11th Cir. R. 41-4.

   Sincerely,

   DAVID J. SMITH, Clerk of Court

   Reply to: Davina C Burney-Smith, J/caw
   Phone #: (404) 335-6183

   Enclosure(s)




                                                                  DIS-2 Letter and Entry of Dismissal
Case 1:19-cv-22864-MGC Document 215 Entered on FLSD Docket 12/22/2020 Page 2 of 2
             USCA11 Case: 20-14492 Date Filed: 12/22/2020 Page: 2 of 2


                          IN THE UNITED STATES COURT OF APPEALS
                                 FOR THE ELEVENTH CIRCUIT

                                            ______________

                                            No. 20-14492-J
                                            ______________

   JUAN COLLINS,
   on behalf of himself and all others similarly
   situated,
   JOHN FOWLER,

                                                       Plaintiffs - Appellees,

   versus

   STEVEN F. HELFAND,

                                                       Interested Party - Appellant,

   QUINCY BIOSCIENCE, LLC,
   a Wisconsin limited liability company,
   TRUTH IN ADVERTISING, INC.,

                                                Defendants.
                          __________________________________________


                             Appeal from the United States District Court
                                 for the Southern District of Florida
                          __________________________________________

   ENTRY OF DISMISSAL: Pursuant to the 11th Cir.R.42-1(b), this appeal is DISMISSED for
   want of prosecution because the appellant Steven F. Helfand failed to pay the filing and
   docketing fees to the district court, or alternatively, file a motion to proceed in forma pauperis in
   the district court within the time fixed by the rules, effective December 22, 2020.

                                          DAVID J. SMITH
                               Clerk of Court of the United States Court
                                  of Appeals for the Eleventh Circuit

                             by: Davina C Burney-Smith, J, Deputy Clerk

                                                               FOR THE COURT - BY DIRECTION
